                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                            )
                                                    )
vs.                                                 )       JUDGE CARTER
                                                    )       Mag. No. 1-10-MJ-120
VICTOR MANUEL MARTINEZ-ARRELLANO                    )
TORIQ QUINN JOHNSON                                 )
SHAWN WILLIAMS                                      )
RAFAEL MORA-PEREZ                                   )

                               MEMORANDUM AND ORDER

       In accordance with Rules 5 and 5.1 of the Federal Rules of Criminal Procedure and in
accordance with the Bail Reform Act, 18 United States Code § 3142(f), the preliminary hearing
was held in this action on April 12, 2010. Those present included:

              (1) AUSA Terra Bay for the United States of America.
              (2) The defendant, VICTOR MANUEL MARTINEZ-
              ARRELLANO.
              (3) Attorney Bryan Hoss for defendant Martinez-Arrellano.
              (4) The defendant, TORIQ QUINN JOHNSON.
              (5) Attorney Stephen Goldstein for defendant Johnson.
              (6) The defendant, SHAWN WILLIAMS.
              (7) Attorney Hillary Hodgkins for defendant Williams.
              (8) The defendant, RAFAEL MORA-PEREZ.
              (9) Attorney Joe Hoffer for defendant Mora-Perez.
              (10) ICE Agent Brenda Dickson.
              (11) Deputy Clerk Kelli Jones.

        Upon being sworn, the defendants were informed or reminded of their privilege against
self-incrimination accorded them under the 5th Amendment to the United States Constitution.

          The defendants acknowledged they had received a copy of the Criminal Complaint at the
initial appearance on April 7, 2010. It was determined they were capable of being able to read
and understand the proceedings.

       AUSA Bay moved the court that the defendants be detained without bail. The defendants
asked for time to prepare for a detention hearing, and a hearing was scheduled for Monday, April
26, 2010, at 2:00 pm.



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       AUSA Bay called Agent Brenda Dickson of the U.S. Immigration and Customs
Enforcement (ICE) as a witness. She testified to the facts outlined in the affidavit attached to the
criminal complaint.

                                             Findings

       Having heard and considered the testimony of the Agent Dickson during the preliminary
hearing and the Affidavit/Complaint, the undersigned finds:

               (1) There is probable cause to believe that there have been
               violations of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B), conspiracy
               to distribute and possess with the intent to distribute more than one
               hundred (100) kilograms of marijuana, committed in the Eastern
               District of Tennessee.

               (2) There is probable cause to believe defendants Toriq Quinn
               Johnson, Shawn Williams, and Rafael Mora-Perez committed the
               aforesaid offenses.

               (3) As to defendant Victor Manuel Martinez-Arrellano, the Court
               did not find probable cause he committed the aforesaid offenses.
               Therefore, this case is DISMISSED as to defendant Victor Manuel
               Martinez-Arrellano.

                                           Conclusions

       It is ORDERED:

               (1) Defendants Toriq Quinn Johnson, Shawn Williams, and Rafael
               Mora-Perez are held to answer the charges against them in the
               District Court.

               (2) The defendant Victor Manuel Martinez-Arrellano is released as
               the Complaint has been DISMISSED as to this defendant.

               (3) Defendants Toriq Quinn Johnson, Shawn Williams, and Rafael
               Mora-Perez’s next appearance shall be for a detention hearing and
               arraignment at 2:00 p.m. on Monday, April 26, 2010, before U.S.
               Magistrate Judge Susan K. Lee.

       ENTER.

       Dated: April 13, 2010                  s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE

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